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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

        OHIO A. PHILIP RANDOLPH                       )
        INSTITUTE, et al.,                            )          No. 1:18cv357
                                                      )
              Plaintiffs,                             )          ORDER GRANTING
                                                      )          PLAINTIFFS’ MOTION TO
        v.                                            )          COMPEL COMPLIANCE
                                                      )          WITH SUBPOENAS SERVED
        RYAN SMITH, et al.,                           )          ON THE REPUBLICAN
                                                      )          NATIONAL COMMITTEE,
              Defendants.                             )          THE NATIONAL
                                                      )          REPUBLICAN
                                                      )          CONGRESSIONAL
                                                      )          COMMITTEE, AND ADAM
                                                      )          KINCAID



    Before: Moore, Circuit Judge; Black and Watson, District Judges.

             This case is before the Court on Plaintiffs’ motion (“Motion”) to compel

    compliance with subpoenas served on third-parties the Republican National Committee

    (“RNC”), National Republican Congressional Committee (“NRCC”) and Adam Kincaid

    (collectively, “Respondents”), as well as the parties’ responsive memoranda. 1




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      The Motion was initially filed in a miscellaneous civil action in the United States District Court
    for the District of Columbia. The action was transferred to this Court, opened as 1:18-mc-31,
    and consolidated with this case. The Motion, Respondents’ Memorandum in Opposition
    (“Memo. in Opp”) and Plaintiffs’ Reply are filed in Case No. 1:18-mc-31 as Docs. 1, 11, and 14,
    respectively. The parties filed additional, supplemental memoranda in this case at Docs. 96, 97,
    112, and 126.
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                                    I.     INTRODUCTION

           A.     Background.

           This case is a challenge to Ohio’s current United States congressional redistricting

    plan (“Map”) and each of its component districts. Plaintiffs allege the Map is an

    unconstitutional partisan gerrymander that violates the First Amendment, the Fourteenth

    Amendment, and Article I of the United States Constitution.

           Plaintiffs allege that, in anticipation of the 2010 Census, the Republican State

    Leadership Committee (“RSLC”), a national organization designed to elect Republicans

    to state-level offices, formulated a strategy to solidify and increase Republican control of

    state legislatures in states where the congressional redistricting process would be

    controlled by those legislative bodies. (Second Amended Complaint at ¶ 44). To

    implement this strategy, the RSLC organized and implemented the REDistricting

    Majority Project (“REDMAP”). (Id. at ¶ 45). REDMAP aimed to control the

    redistricting process in certain states to have the greatest impact on determining how both

    state legislative and congressional district boundaries would be drawn, to solidify

    conservative policymaking at the state level, and to maintain a Republican stronghold in

    the U.S. House of Representatives for the next decade. (Id. at ¶ 45).

           Plaintiffs allege Ohio was one of the states targeted by the RSLC under REDMAP

    and that the RSLC spent nearly $1 million on races for the Ohio House of

    Representatives in advance of the 2010 election. (Second Amended Complaint at ¶ 46).

    In 2010, the Republican Party “captured” the Ohio House of Representatives, bringing

    Ohio under single-party control of the Republican Party. (Id.)

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           After the November 2010 elections, Plaintiffs allege, the Republican Party shifted

    its focus to help state map drawers in their efforts to capture more seats through

    redistricting. They did this in part by utilizing the single-party control of the Ohio

    General Assembly to dictate the drawing of Ohio’s U.S. congressional map. (Id. at ¶ 47).

           Ohio’s General Assembly has the primary authority for drawing Ohio’s U.S.

    congressional districts. (Second Amended Complaint at ¶ 42); Ohio Rev. Code § 103.51.

    However, Plaintiffs allege the Map was actually drawn by Ohio Republican operatives

    Ray DiRossi and Heather Mann, who were provided with the RNC’s redistricting training

    materials and who worked in coordination with national Republican operatives including

    Adam Kincaid and Tom Whatman. (Id. at ¶¶ 52-55). Mr. Kincaid is the Redistricting

    Coordinator of the NRCC. (Id. at ¶ 55). Mr. Whatman was the executive director of

    “Team Boehner”—named after then-Speaker of the House John Boehner—which was

    created to work in concert with the RNC and NRCC to expand the Republican majority

    in the U.S. House of Representatives. (Id.)

           Plaintiffs allege Ohio’s congressional map was designed to pack Democrats into

    four districts, and crack Democratic voters across the remaining 12 districts, to ensure

    Republicans would maintain a 12-4 advantage in Ohio’s congressional seats. (Second

    Amended Complaint at ¶¶ 59-61). Plaintiffs argue that the Map burdens their rights

    under the First and Fourteenth Amendments and exceeds the state’s power under Article I

    of the U.S. Constitution because it is a product of partisan gerrymandering.




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             B.      Plaintiffs’ subpoenas and the Respondents’ responses.

             Plaintiffs served subpoenas on Mr. Kincaid, the RNC, and the NRCC on June 28,

    2018, July 2, 2018, and July 2, 2018 respectively. (Declaration of Theresa Lee (“Lee

    Dec.”) at ¶ 2). 2

             Respondents ran search terms provided by Plaintiffs and retrieved 23,687

    documents. (Declaration of Shawn Sheehy (“Sheehy Dec.”) at ¶ 5). 3 Of those

    documents, 22,915 were non-responsive to Plaintiffs’ subpoenas. (Id.) Respondents

    withheld 236 documents pursuant to various privileges and produced the remaining 75

    documents. (Id. at 5).

             There are three privileges at issue. First, Respondents contend some of the

    documents at issue are shielded from discovery by the First Amendment privilege. In

    support of this claim, Respondents submitted the declarations of Chris Winkelman

    (general counsel of the NRCC), Dalton Oldham (national redistricting counsel for the

    RNC), and Mr. Kincaid. All three affidavits state the documents they are withholding

    pursuant to the First Amendment privilege were intended to assist Republican candidates

    in winning elections, and disclosure of those documents would “drastically and adversely

    affect” how they communicated in the future. (Declaration of Dalton Oldham (“Oldham




    2
        Theresa Lee’s Declaration is filed in Case No. 1:18-mc-31 at Doc. 1-2, PID # 31.
    3
        Shawn Sheehy’s Declaration is filed in Case No. 1:18-mc-31 at Doc. 11-1.


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    Dec.”) at ¶¶ 7-11; Declaration of Chris Winkleman (“Winkleman Dec.”) at ¶¶ 9-14;

    Declaration of Adam Kincaid (“Kincaid Dec.”) at ¶¶ 14-19). 4

             Second, the RNC argues that documents identified on its privilege log are shielded

    from discovery by the attorney-client privilege and the work-product doctrine. (Doc. 1-3

    at PID # 165).

             To evaluate Respondents’ privilege claims, the Court ordered Respondents to

    produce the contested documents for in camera review. (Docs. 101, 116). The Court has

    reviewed all of the documents at issue, with the exception of several documents that can

    only be viewed on mapdrawing software the Court does not have, and rules as follows.

                                          II.    STANDARD

             Pursuant to the Federal Rules of Civil Procedure, parties may “obtain discovery

    regarding any nonprivileged matter that is relevant to any party’s claim or defense and

    proportional to the needs of the case, considering the importance of the issues at stake in

    the action, the amount in controversy, the parties’ relative access to relevant information,

    the party’s resources, the importance of the discovery in resolving the issues, and whether

    the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.

    Civ. P. 26(b)(1) (emphasis supplied).




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        Dalton Oldham’s Declaration is filed in Case No. 1:18-mc-31 at Doc. 1-3, PID # 158

    Adam Kincaid’s Declaration is filed in Case No. 1:18-mc-31 at Doc. 1-3, PID # 191.

    Chris Winkleman’s Declaration is filed in Case No. 1:18-mc-31 at Doc. 1-3, PID # 173.
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           The sole question before the Court is whether the documents withheld by

    Respondents fall outside the scope of Rule 26 because they are protected by the First

    Amendment privilege, the attorney-client privilege, and/or the work-product doctrine.

                                         III.   ANALYSIS

           A.     The First Amendment Privilege.

           Respondents argue that some documents in their possession, and responsive to

    Plaintiffs’ subpoenas, are shielded from discovery by the First Amendment privilege

    because disclosure would result in a chilling effect on Respondents’ protected speech.

    (Memo. in Opp. at PID # 407-34). Plaintiffs argue the First Amendment privilege does

    not apply, and even if it does, Plaintiffs’ interest in the information sought outweighs the

    potential for a chilling effect. (Motion at PID # 10-25).

           “Effective advocacy of both public and private points of view, particularly

    controversial ones, is undeniably enhanced by group association.” NAACP v. Alabama,

    357 U.S. 449, 460, 78 S. Ct. 1163, 2 L.Ed. 2d 1488 (1958). The “freedom to associate

    with others for the common advancement of political beliefs and ideas is . . . protected by

    the First and Fourteenth Amendments.” Perry v. Schwarzenegger, 591 F.3d 1147, 1159

    (9th Cir. 2010) (citation omitted) (internal quotation marks omitted). “Given the right to

    freedom of association, disclosure of information may be inappropriate when such

    disclosure will adversely affect an organization’s ability ‘to pursue [] collective efforts to

    foster beliefs’ and may ‘induce members to withdraw’ or ‘dissuade others from joining . .

    . .’” Tree of Life Christian Sch. v. City of Upper Arlington, Case No. 2:11-cv-00009,



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    2012 U.S. Dist. LEXIS 32205, at * 5 (S.D. Ohio Mar. 12, 2012) (quoting NAACP, 357

    U.S. at 462-63).

           Assessing a claim of First Amendment privilege is a two-step process. First, the

    party asserting the privilege must make an initial showing of an “arguable first

    amendment infringement.” Tree of Life, 2012 U.S. Dist. LEXIS 32205 at ** 6-7 (citing

    Perry, 591 F.3d at 1160) (internal quotation marks omitted). A party meets this prima

    facia burden by demonstrating “an objectively reasonable probability that disclosure will

    chill associational rights.” Id. (citation omitted) (internal quotation mark omitted). “The

    existence of a prima facie case turns not on the type of information sought, but on

    whether disclosure of the information will have a deterrent effect on the exercise of

    protected activities.” Perry, 591 F.3d at 1162.

           If the party asserting the privilege makes an initial showing of First Amendment

    infringement, the burden shifts to the party seeking discovery to demonstrate an interest

    in obtaining the information it seeks that is sufficient to justify the deterrent effect on the

    constitutionally protected free exercise of association. See Tree of Life, 2012 U.S. Dist.

    LEXIS 32205 at * 8. The Court is required to “balance the burdens imposed on

    individuals and associations against the significance of the . . . interest in disclosure.” Id.

    (citing Perry, 591 F.3d at 1161) (internal quotation marks omitted). In balancing the

    parties’ competing interests, courts will look to a variety of factors, including the

    importance of the litigation, the relevance of the evidence, whether the information is

    available from less intrusive sources, and the substantiality of the First Amendment rights

    at stake. See Perry, 591 F. 3d at 1161; Tree of Life, 2012 U.S. Dist. LEXIS 32205 at * 8.

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    “Importantly, the party seeking the discovery must show that the information sought is

    highly relevant to the claims or defense in the litigation—a more demanding standard of

    relevance than that under Federal Rule of Civil Procedure 26(b)(1).” Perry, 591 F.3d at

    1161.

                  1.     Respondents have made a prima facie showing of First Amendment
                         infringement.

            Respondents describe the documents they withheld pursuant to the First

    Amendment privilege as: (1) internal communications and meeting minutes updating

    party staff, members, and members’ staff about the redistricting progress and redistricting

    process nationwide both before and after the Ohio map was passed, and internal analysis

    concerning the political ramifications of redistricting nationwide; (2) internal talking

    points used to prepare members for interviews regarding redistricting nationwide; and (3)

    internal analysis of the contours and composition of Ohio’s enacted Congressional

    districts and draft maps. (Memo. in Opp. at PID # 405).

            Respondents argue these documents were withheld because they contained mental

    impressions and analysis and were intended to develop strategies to assist Republican

    House Members win their elections. (Id.) Respondents contend that the primary

    purpose of Republican national political organizations is to assist Republicans in winning

    their elections, and to do so, they must know the contours and composition of districts.

    (Id.) Respondents claim compelled disclosure would drastically and adversely affect how

    the RNC, NRCC, and Mr. Kincaid communicate their analysis and mental impressions in




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    the future and would frustrate the ability of the RNC and NRCC to formulate effective

    advocacy strategies. (Id. at PID # 405-06).

           The Court finds Respondents have met their prima facie burden, that is, that

    Respondents have shown an “arguable First Amendment infringement.” See Tree of Life,

    2012 U.S. Dist. LEXIS 32205 at ** 6-7. Disclosure of the types of internal documents at

    issue here may have a deterrent effect on the free flow of information within campaigns.

    See Perry, 591 F.3d 1147. Because the right to exchange ideas and formulate strategy in

    private is implicit in the right to associate with others to advance shared political beliefs,

    these types of documents are protected by the First Amendment. Id.

                  2.      Plaintiffs’ interest in the information sought outweighs the deterrent
                          effect of disclosure.

           Having found a prima facie showing of First Amendment infringement, the Court

    next balances the Respondents’ burden of disclosure against Plaintiffs’ interest in the

    information. The Court finds Plaintiffs have shown that their interest in the information

    sought justifies the potential deterrent effect of disclosure.

           First, this lawsuit, which alleges Ohio’s U.S. congressional map is a partisan

    gerrymander, is important. The Supreme Court has expressly stated partisan

    gerrymanders “are incompatible with democratic principles.” Ariz. State Legis. v. Ariz.

    Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2658, 192 L.Ed. 2d 704 (2015) (citing

    Vieth v. Jubelirer, 541 U.S. 267, 292, 124 S. Ct. 1769, 158 L.Ed. 2d 546 (2004) (internal

    brackets omitted)).




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           Second, Plaintiffs seek the documents at issue for the purpose of proving political

    intent, which is an essential element of their claim. See Davis v. Bandemer, 478 U.S.

    109, 127 (1986) (requiring proof of discriminatory intent in partisan gerrymandering

    cases); see also League of Women, Voters of Michigan v. Johnson, Case No. 17-14148,

    2018 U.S. Dist. LEXIS 86398, at ** 9-10 (E.D. Mich. May 23, 2018) (“Intent is an

    element of Plaintiffs’ [redistricting related] First Amendment and Equal Protection

    claims.”). The documents sought by Plaintiffs are relevant to their claim that the Map

    was drawn, not by the Ohio legislature, but by state and national Republican operatives

    acting with an intent to lock in a Republican majority in Ohio’s U.S. congressional seats.

    (Second Amended Complaint at ¶¶ 52-55).

           Respondents argue they should not have to produce the documents at issue

    because the Supreme Court stated in Bandemer, 478 U.S. at 129, that “[a]s long as

    redistricting is done by a legislature, it should not be very difficult to prove that the likely

    political consequences of the reapportionment were intended.” (Memo. in Opp. at PID

    # 402). This argument is not availing. Analyzing intent “demands a sensitive inquiry

    into such circumstantial and direct evidence of intent as may be available.” Village of

    Arlington Heights v. Metro Housing Dev. Corp., 429 U.S. 252, 266 (1977). Documents

    in the possession of the entities and individuals alleged to have participated in or

    influenced the Map drawing process are circumstantial evidence of the validity (or

    invalidity) of Plaintiffs’ claims.

           As the Court explained in a prior Order, documents that are not related to Ohio’s

    redistricting (or fundraising for the same) are not relevant or proportional to the needs of

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    this lawsuit. (Doc. 102 at 18). Along those lines, Plaintiffs have not demonstrated a need

    for documents pertaining exclusively to states other than Ohio that is sufficient to justify

    the potential infringement of Respondents’ First Amendment rights. To the extent any of

    the documents withheld by Respondents pursuant to the First Amendment privilege

    pertain only to states other than Ohio, Respondents need not produce them.

           Third, Plaintiffs cannot obtain these documents elsewhere. Plaintiffs have

    engaged in an extensive effort to obtain relevant documents from other sources.

    Plaintiffs have, inter alia: (1) served Rule 34 discovery requests on three Defendants and

    seven Intervenors; (2) served Rule 45 subpoenas on 37 people and organizations,

    including Ohio legislators, Ohio staff members, the RSLC, and State Government

    Leadership Foundation, and other national republicans; and (3) submitted public records

    requests to the offices of members of the Ohio General Assembly who played an

    identifiable role in Ohio’s 2011 redistricting. (Lee Dec. at ¶¶ 21-22). Despite these

    efforts, Plaintiffs have not obtained the documents Respondents are withholding pursuant

    to privilege. (Id. at ¶ 25). 5

           Fourth, in balancing the parties’ respective First Amendment interests, the Court

    notes that while Respondents have shown the existence of interests protected by the First

    Amendment, they have not shown that those interests are particularly strong. That is,




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     The fact that public records requests have not resulted in production of the documents
    evidencing a discriminatory intent is not surprising in light of the fact that “officials seldom, if
    ever, announce on the record that they are pursuing a particular course of action because of their
    desire to discriminate” against a particular group. See League of Women, 2018 U.S. Dist. LEXIS
    86398, at * 12 (internal quotation mark omitted) (quoting Bethune-Hill, 114 F. Supp. 3d at 341).
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    Respondents have not convincingly shown that disclosure of the documents at issue in

    this case is likely to have a significant chilling effect on protected speech.

           Initially, while disclosure of internal political documents like those withheld by

    Respondents can have a chilling effect on the exercise of protected activities, that threat

    is “far less compelling than the evidence presented in cases involving groups whose

    members had been subjected to violence, economic reprisals, and police or private

    harassment[.]” AFL-CIO v. FEC, 333 F.3d 168, 177 (D.C. Cir. 2003).

           Most importantly, however, Respondents have not set forth any argument

    explaining why disclosure of any one of the numerous documents withheld pursuant to

    First Amendment privilege would require them to change the way they communicate, nor

    have they attempted to explain how that change would frustrate their organizations’

    advocacy goals. Instead, Respondents attempt to shield five bankers’ boxes of

    documents from discovery by stating in boilerplate fashion that disclosure would

    adversely affect the way they communicate. The Court finds Plaintiffs’ interest in

    obtaining these documents to support a crucial element of their partisan gerrymandering

    claim simply outweighs Respondents’ sweeping and conclusory claims of privilege.

           B.     The Attorney-Client Privilege.

           Respondents argue that the documents listed on the RNC’s privilege log are

    shielded from discovery by the attorney-client privilege. (Memo. in Opp. at PID # 434-

    36). Plaintiffs argue Respondents have not established the applicability of the privilege.

    (Motion at PID # 26-27).



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           The attorney-client privilege is based on two related principles. First, subjecting

    lawyers to routine examinations of their clients’ confidential communications would

    offend the loyalty that forms an intrinsic part of the relationship between a lawyer and

    client. Reed v. Baxter, 134 F.3d 351, 356 (6th Cir. 1998) (citation omitted). “The second

    principle is that the privilege encourages clients to make full disclosure to their lawyers.

    A fully informed lawyer can more effectively serve his client and promote the

    administration of justice.” Id.

           The Sixth Circuit has set forth the essential elements of the attorney-client

    privilege:

                  (1) Where legal advice of any kind is sought (2) from a
                  professional legal adviser in his capacity as such, (3) the
                  communications relating to that purpose, (4) made in
                  confidence, (5) by the client, (6) are at his insistence
                  permanently protected (7) from disclosure by himself or by his
                  legal adviser, (8) unless the protection is waived.

    Fausek v. White, 965 F.2d 126, 129 (6th Cir. 1992) (citing United States v. Goldfarb, 328

    F.2d 280 (6th Cir. 1964)).

           The burden of establishing the existence of the attorney-client privilege rests with

    the person asserting it. United States v. Dakota, 197 F.3d 821, 825 (6th Cir. 1999)

    (citation omitted).

           The Court finds Respondents have not met that burden. First, the Court has

    reviewed the documents listed on the RNC’s privilege log in camera. The Court cannot

    conclude, from the face of the documents, that they are confidential communications




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    between client and attorney pertaining to legal advice. Some of the documents do not

    even appear to be communications between clients and attorneys. 6

           Second, and similarly, Respondents have not set forth any evidence that any

    particular document on the privilege log is a confidential communication, pertaining to

    legal advice, between client and attorney. Neither of the declarations submitted by Mr.

    Oldham—an attorney for the RNC—explains how any document on the RNC’s privilege

    log is protected by the attorney-client privilege. 7

           C.      The Work-Product Doctrine.

           Respondents argue the documents listed on the RNC’s privilege log are shielded

    from discovery by the work-product doctrine. (Memo. in Opp. at PID # 436-439).

    Plaintiffs argue Respondents have not demonstrated that these documents were prepared

    because of an anticipation of litigation. (Motion at PID # 27-28).

           “The work-product doctrine protects an attorney’s trial preparation materials from

    discovery to preserve the integrity of the adversarial process.” In re Professionals Direct

    Ins. Co., 578 F.3d 432, 439 (6th Cir. 2009) (citing Hickman v. Taylor, 329 U.S. 495, 510-



    6
      For example, REV_00023175 is a communication between Kevin DeWine and Tom Hofeller,
    who Respondents contend is a “redistricting expect” (Memo. in Opp. at PID # 409). There is no
    evidence that Mr. DeWine or Mr. Hofeller are attorneys, nor is there any evidence that they were
    in an attorney-client relationship. Similarly, REV_00023166 is a communication between Mike
    Wild, Robert Bennett, and Mr. Hofeller. Again, there is no evidence that any of these people are
    attorneys, much less that they were in an attorney client relationship. Respondents do not even
    offer any argument as to how these particular documents are privileged.
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      Mr. Oldham submitted a second declaration (“Second Oldham Dec.”) that attempts to advocate
    for the applicability of the work-product doctrine (Doc. 96-1), but that declaration does not state
    that any document listed on the RNC’s privilege log was a confidential communication between
    client and attorney pertaining to legal advice.
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    14, 67 S. Ct. 385, 91 L. Ed. 451(1947)). The work-product doctrine shields from

    discovery (1) documents and tangible things; (2) prepared in anticipation of litigation or

    for trial, (3) by or for another party or its representative. Id. (citing Fed. R. Civ. P.

    26(b)(3)).

           “To determine whether a document has been prepared ‘in anticipation of

    litigation,’ and is thus protected work product, we ask two questions: (1) whether that

    document was prepared ‘because of’ a party’s subjective anticipation of litigation, as

    contrasted with ordinary business purpose, and (2) whether that subjective anticipation

    was objectively reasonable.” In re Professionals Direct Ins. Co., 578 F.3d at 439

    (quoting United States v. Roxworthy, 457 F.3d 590, 594 (6th Cir. 2006)). “[D]ocuments

    prepared in the ordinary course of business . . . or for other nonlitigation purposes, are not

    covered by the work product privilege.” Roxworthy, 457 F.3d at 593 (citing Fed. R. Civ.

    P. 26(b)(3) advisory committee’s notes (1970)). “Thus, a document will not be protected

    if it would have been prepared in substantially the same manner irrespective of the

    anticipated litigation.” Roxworthy, 457 F.3d at 593-94 (citing United States v. Aldman,

    134 F.3d 1194, 1202 (2d Cir. 1998)).

           As with the attorney-client privilege, “[a] party asserting the work product

    privilege bears the burden of establishing that the documents he or she seeks to protect

    were prepared ‘in anticipation of litigation.’” Roxworthy, 457 F.3d at 593 (quoting In re

    Powerhouse Licensing, LLC, 441 F.3d 467, 473 (6th Cir. 2006)). “Where an ‘undisputed

    affidavit . . . is specific and detailed to indicate that the documents were prepared in



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    anticipation of litigation or trial,’ then the party claiming work product protection has met

    its burden.” Id. at 597 (quoting Toledo Edison Co. v. G.A. Techs., Inc., 847 F.2d 335 341

    (6th Cir. 1988)). “However, application of the privilege will be rejected where the ‘only

    basis’ for the claim is an affidavit containing ‘conclusory statement[s].’” Id. (quoting

    Guardsmark, Inc. v. Blue Cross & Blue Shield of Tenn., 206 F.R.D. 202, 209 (W.D.

    Tenn. 2002)).

           “Because documents are not protected if they were created for nonlitigation

    purposes, regardless of content, ‘[d]etermining the driving force behind the preparation of

    each requested document is therefore required in resolving a work product immunity

    question.’” Roxworthy, 457 F.3d at 595 (quoting Nat’l Union Fire Ins. Co. of Pittsburgh

    v. Murray Sheet Metal Co., 967 F.2d 980, 984 (4th Cir.1992)). Consequently, the Court

    must examine “the circumstances surrounding the documents’ creation.” Id.

           Here, Respondents have not adequately shown that the documents on the RNC’s

    privilege log are shielded from discovery by the work-product doctrine. First, the Court

    has reviewed the documents in camera. The Court cannot conclude, from the face of the

    documents, that they were prepared in anticipation of litigation.

           Second, Respondents have not submitted evidence sufficient to establish that any

    particular document was prepared in anticipation of litigation. Mr. Oldham declares that

    he believes “[e]very communication he reviewed marked ‘work-product’ on the privilege

    log” to have been created in anticipation of partisan gerrymandering (or other) litigation.

    (Second Oldham Dec. at ¶ 12). This conclusory, sweeping statement pertaining to every

    document marked “work-product” is not the kind of “specific and detailed” evidence

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    required to invoke the privilege. 8 Roxworthy, 457 F.3d at 597. Respondents have simply

    failed to establish that “the driving force” behind any particular document was the

    anticipation of litigation as opposed to the ordinary course of business.

                                        IV.     CONCLUSION

           For the foregoing reasons, Plaintiffs’ motion to compel compliance with

    subpoenas served on the Republican National Committee, National Republican

    Congressional Committee, and Adam Kincaid is GRANTED. Respondents shall

    produce, immediately, the following documents:

           1.      Entries REV_00023166 through REV_00023195, and entries
                   REV_00023200 through REV_00023257 on the RNC’s privilege log (filed
                   in Case No. 1:18-mc-31 at Doc. 1-3, Ex. G);

           2.      The documents listed in Paragraph 7(a)-(d), (f)-(g) of Dalton Oldman’s
                   Declaration dated September 30, 2018 (filed in Case No. 1:18-mc-31 at
                   Doc. 1-3, Ex. F);

           3.      The documents listed in Paragraphs 9(a), (e), (g)-(i), and (l)-(n) of Chris
                   Winkleman’s Declaration dated September 28, 2018 (filed in Case No.
                   1:18-mc-31 at Doc. 1-3, Ex. I); and




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      The breadth of Mr. Oldham’s conclusory assertion that all documents marked “work product”
    (i.e., every single document on the RCN privilege log) were prepared in anticipation of litigation
    is troubling. For example, REV_00023166 is an email between Mr. Wild, Mr. Bennett, and Mr.
    Hofeller. There is no indication that any of these people are attorneys or that they were acting on
    behalf of an attorney, there is no explanation as to what role these individuals played, if any, in
    preparing the RNC for litigation, and there is no indication that potential litigation was the
    driving force behind this communication. That Respondents withheld this document pursuant to
    the work-product doctrine, but failed to set forth any argument at all as to why the doctrine
    would apply, gives the Court reason to question the veracity of Mr. Oldham’s broad, conclusory
    claim.


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           4.        The documents listed in Paragraph 14 of Adam Kincaid’s Declaration dated
                     September 28, 2018 (filed in Case No. 1:18-mc-31 at Doc. 1-3, Ex. M),

           to the extent such documents are relevant to Ohio’s redistricting (or fundraising

    for the same).

           Documents and files produced in response to this Order temporarily shall be

    designated “Attorneys’ Eyes Only.” Documents so designated may be shared only with

    attorneys representing the Parties in this case or those attorneys’ consulting or testifying

    experts who agree to be bound by the protective order. If this Order is reversed on

    appeal, the Parties’ attorneys will immediately destroy or return to Respondents’ counsel

    all copies of the documents and files, as well as any work product that resulted in whole

    or in part from the Attorneys-Eyes-Only documents, and will direct any consulting or

    testifying expert who has received a copy of the documents or files to destroy those

    documents or files and work product resulting therefrom. During the pendency of any

    review by an appellate court of this Order, if a Party seeks to file an Attorneys-Eyes-Only

    document with this Court, or use it as an exhibit at trial, the Party will seek leave of this

    Court before doing so. If a reviewing court affirms this Order, then any document or file

    produced pursuant to this Order will no longer be designated “Attorneys’ Eyes Only” or

    fall under any other provisions of the protective order. Moreover, if Respondents fail to

    appeal this Order within SEVEN DAYS, the Panel will vacate this Order and the

    documents and files produced in response to this Order will no longer be designated

    “Attorneys’ Eyes Only.”




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            IT IS SO ORDERED.

    Date:        12/21/18                            /s/ Timothy S. Black
                                                     Timothy S. Black
                                                     United States District Judge

                                                     /s/ Karen Nelson Moore
                                                     Karen Nelson Moore
                                                     United States Circuit Judge

                                                     /s/ Michael H. Watson
                                                     Michael H. Watson
                                                     United States District Judge




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